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                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Gregory John te Velde   Case No.: 18-11651 - B - 11
           Adversary Title: Sugarman v. IRZ    Adv No.: 19-01033
           Consulting, LLC
                                               Docket Control No. MNG-2
                                               Date: 11/13/2019
                                               Time: 1:30 PM

           Matter: [21] - Jury Demand Re: [1] Complaint Filed by Defendant
           IRZ Consulting, LLC (fdis) [21] - Motion/Application to Dismiss
           Adversary Proceeding/Notice of Removal [MNG-2] Filed by Defendant
           IRZ Consulting, LLC (fdis)

           Judge: René Lastreto II
           Courtroom Deputy: Debbie Chavez
           Reporter: Electronic Record
           Department: B
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           Defendant's Attorney - Hagop Bedoyan
           Respondent(s):
           Plaintiff's Attorney - John H. MacConaghy; (by phone) Creditor's
           Attorney - Sara Chenetz
           _____________________________________________________________________
                                       CIVIL MINUTES


           Motion Denied


           Court will issue the order. IRZ to file an answer 14 calendar days
           after entry of this order.

           Randy Sugarman, Chapter 11 Trustee (“Trustee”), filed a complaint
           against IRZ Consulting, LLC aka IRZ Construction Division, LLC
           (“IRZ”) objecting to IRZ’s proof of claim and alleging breach of
           contract and negligence. These stem from IRZ’s alleged failure to
           competently perform construction management services for the planning
           and construction of a dairy waste collection, treatment, conversion
           and disposal system for one of the debtor’s large dairies in Oregon.
           The complaint includes four claims for relief: objection to claim,
           breach of contract, negligence—claims 1-3—to avoid an allegedly
           fraudulent transfer—claim 4. The fourth claim is not challenged here.
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           IRZ’s proof of claim for about $350,000.00 is for unpaid amounts due
           under two “contracts” with the debtor. Trustee alleges no sums are
           due because of IRZ’s material breaches of the contract. Those alleged
           breaches are the factual basis for the breach of contract and
           negligence claims which are at issue on this motion. Trustee claims
           damages of $850,000.00 which is what the debtor allegedly paid IRZ.
           Consequential damages exceeding $18,550,000.00 are alleged against
           IRZ. Trustee claims the development of the waste disposal system was
           severely flawed resulting in the closure of the dairy, sale of the
           herd and the affected dairy property at below market, remediation
           costs, profit loss, administrative fines and attorney’s fees.

           IRZ asks the court to dismiss the first three claims under Federal
           Rule of Civil Procedure[1] 12(b)(6) (applied in adversary proceedings
           by Federal Rule of Bankruptcy Procedure 7012(b)). Other actions are
           pending raising the same issues as the claim objection, contends IRZ.
           There are two other adversary proceedings — one removed from the
           Oregon Circuit Court — about the same dairy as this adversary
           proceeding. Second, Trustee is precluded from bringing this action,
           says IRZ, because no certificate of merit under Or. Rev. Stat.
           § 31.300 was filed with the complaint. Finally, IRZ argues Trustee
           did not sue the right defendant since IRZ was performing construction
           management duties only and other firms were involved in the design
           and implementation of the dairy waste treatment plan.

           Civil Rule 12 (b)(6)

           A motion to dismiss for failure to state a claim under Civil Rule 12
           (b)(6) tests the legal sufficiency of a claim. Navarro v. Black, 250
           F.3d 729, 732 (9th Cir. 2001). ”To survive a motion to dismiss, a
           complaint must contain sufficient factual matter, accepted as true,
           to ‘state a claim to relief that is plausible on its face.’” Ashcroft
           v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). The motion may
           be based on either absence of a cognizable legal theory or the lack
           of sufficient facts “alleged under a cognizable legal theory.”
           Johnson v. Riverside Healthcare Sys., 534 F.3d 1116, 1121 (9th Cir.
           2008) (citation omitted). Two of IRZ’s arguments – wrong defendant
           and other actions pending – are not strictly dismissal motion
           contentions. The third – certificate of merit – may be. The court
           will briefly examine each.


           _____________
           [1]Future references to the Federal Rules of Civil Procedure shall be
           denoted by “Civil Rule”; references to the Federal Rules of
           Bankruptcy Procedure shall be noted by “Rule.”
           Notably, IRZ’s motion also includes a declaration of Wayne Downey,
           IRZ’s Director of Construction. Doc. #24. Mr. Downey states many of
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           the design and construction services which impacted the efficacy of
           the waste system were not performed by IRZ but others. Id.
           Specifically pipe plant, manure system, flush/irrigation system,
           separation screen, and building structure services were the
           responsibility of unnamed parties. Id. “In ruling on a 12(b)(6)
           motion, a court may generally consider only allegations contained in
           the pleadings, exhibits attached to the complaint, and matters
           properly subject to judicial notice.” Swartz v. KPMG LLP, 476 F.3d
           756, 763 (9th Cir. 2007).

           Other pending actions

           IRZ’s argument goes too far. The relief involved in the other actions
           relate to priority of the many liens asserted against the dairy. This
           adversary proceeding relates not only to claim allowance but
           affirmative claims the estate has against IRZ.

           Also, Judge Clement has previously ordered this proceeding and the
           others dealing with this dairy consolidated for trial purposes. Doc.
           #94. So, the risk of inconsistent rulings is nonexistent.
                Consolidation is well within the court’s discretion. Adams v.
           Cal. Dept. of Health Servs., 487 F.3d 684, 688 (9th Cir. 2007)
           (overruled in part on other grounds in Taylor v. Sturgell, 553 U.S.
           880, 904 (2008)).

           What is more, in the Ninth Circuit, “claim splitting” is determined
           by application of claim preclusion rules. Assuming the parties in all
           the actions are the same—they are not—the “same cause of action”
           requirement of claim preclusion analyzes four criteria:

                 • Whether rights or interests established in the prior judgment
                   would be destroyed or impaired by prosecution of the second
                   action;
                 • Whether substantially the same evidence is presented in the
                   two actions;
                 • Whether the two suits involve infringement of the same right;
                 • Whether the two suits arise out of the same transactional
                   nucleus of facts.
           Constantini v. Trans World Airlines, 681 F.2d 1199, 1201-02 (9th Cir.
           1982). There is no “prior judgment” here. Some of the same evidence
           may be presented in all actions but that evidence would not include
           the gravamen of Trustee’s claims here. The same right is not involved
           since affirmative claims asserted in this case differ from priority
           and sales proceeds issues in the other actions. Part of the claims in
           the removed action do involve the same transaction at issue here but
           the breach of contract, negligence and fraudulent transfer claims do
           not.
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           Wrong Defendant

           Civil Rule 21 (applicable in adversary proceedings by Rule 7021)
           states in part: “Misjoinder of parties is not a ground for dismissing
           an action.” IRZ’s argument on this issue suggests IRZ should bring a
           third-party complaint against these parties. It does not support an
           order dismissing the complaint against IRZ. There is no argument on
           this motion that the allegations are insufficient to state a claim
           against IRZ. Discovery may establish other parties should be added.
           But for now, there is no basis to grant the motion to dismiss on this
           ground.

           Permissive joinder of defendants under Civil Rule 20 (applicable to
           adversary proceedings by Rule 7020) is a right belonging to
           plaintiffs and a defendant cannot use Rule 20 to force the plaintiff
           to join a person as an additional defendant. Hefley v. Textron, Inc.,
           713 F.2d 1487, 1499 (10th Cir. 1983). The motion (and declaration)
           suggests the identities of other parties. But the motion contains no
           argument or analysis that the joinder of these parties is mandatory.
           So, the question is whether Trustee should join them. That is up to
           the Trustee.

           Certificate of Merit

           Or. Rev. Stat. § 31.300 (2019) requires an attorney before filing a
           complaint alleging a claim against a “design professional” arising
           out of that professional’s activities for which the professional is
           licensed, to certify the attorney has consulted a design professional
           with similar credentials who is willing to testify as to the
           liability of the design professional. If this requirement is not
           complied with, a court must dismiss the complaint upon motion of the
           “design professional.” Or. Rev. Stat. § 31.300(4). IRZ argues Trustee
           did not comply so dismissal is mandatory. The court disagrees.

           First, the Downey declaration, if properly considered on this motion,
           states IRZ was involved in only “project management services.” Those
           services are not included in the definition of “design professional”
           under Or. Rev. Stat. § 31.300(1). “Design professional” under that
           statute is limited to architect, landscape architect, professional
           engineer or professional land surveyor. There is no analysis by IRZ
           that “project management services” is contemplated under the statute.

           Second, though less than unanimous in this circuit, when confronting
           application of a similar California statute, Cal. Civ. Proc.
           § 411.35, federal courts in diversity cases find the certificate of
           merit a procedural and not a substantive requirement of law. Apex
           Directional Drilling, LLC v. SHN Consulting Eng’rs & Geologists,
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           Inc., 119 F. Supp. 3d 1117 (N.D. Cal. 2015); Bard Water Dist. v.
           James Davey & Assocs., 671 F.App’x 506 (9th Cir. 2016).    But
           cf.Lewis v. Ctr. for Counseling & Health Res., C08-1086 MJP, 2009
           U.S. Dist. LEXIS 67415 (W.D. Wash. July 28, 2009) [discussing
           Washington’s certificate requirement in malpractice actions].
           Notably, even the title of Oregon’s certificate of merit statute is
           “Pleading Requirements for Actions Against Design Professionals.”
           True enough, jurisdiction in this case is based on 28 U.S.C. § 1334
           not diversity, 28 U.S.C. § 1332, but that suggests an even narrower
           application of a state pleading requirement. In the absence of
           contrary authority, the court is not persuaded that a certificate of
           merit is a pre-requisite to the filing of this adversary proceeding.

           Trustee’s argument that IRZ is judicially estopped from raising the
           issue is without merit. The judicial estoppel doctrine is informed by
           several factors:

           1. Whether a party’s later position is clearly inconsistent with its
              earlier position;
           2. Whether a party has succeeded in persuading a court to accept that
              party’s earlier position so that judicial acceptance of an
              inconsistent position in a later proceeding would create the
              perception that either the first or second court was misled;
           3. Whether the party seeking to assert an inconsistent position would
              derive an unfair advantage or impose an unfair detriment on the
              opposing party if not estopped.
           Ah Quin v. City of Kauai DOT, 733 F.3d 267, 270 (9th Cir. 2013).
           Federal courts apply federal principles of judicial estoppel, even
           when based on statements made in other tribunals. Rissetto v.
           Plumbers & Steamfitters Local 343, 94 F.3d 597, 603 (9th Cir. 1996).

           Trustee has presented nothing suggesting the second or third factors
           are present here. The motion was DENIED.
